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IN THE UNITED sTATEs DISTRICT coURT 5
FOR THE: wEsTERN DISTRICT OF TENNESSEE 9555 .,_ 5
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ROGER D. RILEY, W'D' O\' 55'1$` /5;/15 PH/"-
' Lr\h ,FS
Plaintiff,
V.
04~1267 TP

WAL-MART StOre #335, WAL-MART
ASSOCIATES, INC., WAL-MART
STORES, INC., WAL-MART STORES
EAST, INC., A & M CLEANING
PRODUCTS, INC., BIO~LAB, INC.,
as a wholly-owned subsidiary of
GREAT LAKES CHEMICAL
CORPORATION, and GREAT LAKES
CHEMICAL CORPORATION,
Individually,

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Defendants.

 

ORDER DENYING WITHOUT PREJUDICE DEFENDANTS' MOTION
AND AMENDED MOTION FOR LEAVE TO FILE AMENDED ANSWER

 

Before the Court are Defendants Wal-Mart Store #335, Wal-Mart
Associates, Inc., Wal-Mart Stores, Inc., and Wal-Mart Stores East,
Inc.'s Motion for Leave to File Amended Answer, filed on April 19,
2005 (dkt #ll) and Amended Motion for Leave to File Amended Answer,
filed on April 20, 2005 (dkt #16). For the reasons given below,
Defendants' motions are DENIED WITHOUT PREJUDICE.

Defendants filed.nearly identical motions on Consecutive days.

The amended motion fails to explain Defendants’ reasoning for

  

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submitting an amended motion. On review, the Court only finds two
differences between the two motions. First, the proposed answer
attached to the amended motion includes the language “other co-
defendants and” :ni paragraphs 536 and 37, which is IKM; in the
proposed answer attached 113 the original nmtion. Second, the
original certificate of consultation indicates that the Defendants
attempted, but failed, to contact the Plaintiff. The amended
certificate of consultation indicates that the Defendants contacted
counsel for the Plaintiffs, but it does not state whether the
plaintiff consented or opposed the relief sought.

Local Rule 7.2(a)(1)(B) provides that “All motions,
shall be accompanied by a certificate of counsel . . . affirming
that, after consultation between the parties to the controversy,
they are unable to reach an accord as to all issues or that all
other parties are in agreement with the action requested by the
motion. Failure to file an accompanying certificate of
consultation may be deemed good grounds for denying the motion.”
Although the Wal-Mart Defendants filed a certificate of
consultation with their motion, the certificate does not indicate
whether the plaintiff consents or opposes the relief sought.

Accordingly, the motion is DENIED WITHOUT PREJUDICE.
Defendants shall have seven {7) days from the date of this order to

comply with Local Rule 7.2(a)(l) and renew her motions. Failure to

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COmply with this order will result in denial of Defendants’
LA/\ §;>ff:§&`_`_

TU M. PHAM‘
United States Magistrate Judge

`1,@@3'\
Date

motions
with prejudice.

IT IS SO ORDERED.

       

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Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 21 in
case 1:04-CV-01267 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

